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March 13, 2021

Via ECF

The Honorable Jed S. Rakoff
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007


Re:     Testimony to be Elicited from Defense Expert United States v. Weigand, et al., 20 cr. 188

Dear Judge Rakoff:

       We write respectfully on behalf of Defendant Hamid “Ray” Akhavan regarding the expected
testimony to be elicited from defense expert Jeffrey Rankin. The parties have reached an agreement
regarding the admissibility of certain documents in exchange for not calling Mr. Akhavan’s other
proposed expert, John Vardaman.

Mr. Rankin’s Expected Testimony

        Consistent with the disclosures previously provided to the government, and set forth in the
opposition to the government’s motion to exclude expert testimony, Mr. Rankin will explain the role
of the acquiring bank as it relates to the various intermediaries that act between the acquirer and the
merchant, including independent sales organizations (“ISOs”) and third party processors (“TPPs”),
in the credit card process. He will describe the lack of privity between the participants in the four-
party credit card network system (consumer, issuing bank, acquiring bank and merchant). Mr.
Rankin will explain the exclusive responsibilities of acquiring banks in onboarding merchants into
the credit card network, including the Know Your Customer (“KYC”) process, how and why a
merchant category code (“MCC”) is selected, how a merchant name and descriptor are used in the
system, and the rules governing these decisions, including the process for challenging the accuracy
of a MCC or descriptor. He will testify the acquirer has the sole and non-delegable responsibility to
ensure the merchant is in compliance with network rules, including determining an appropriate MCC
and descriptor. He will differentiate the information that acquirers learn about a merchant from what
is learned by the credit card network or the issuing bank through a transaction.


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Sincerely,




Christopher Tayback




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